       Case 1:13-cr-00091-BLW Document 1067 Filed 06/25/24 Page 1 of 4




                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                Case No. 1:13-cr-00091-BLW
                      Plaintiff,
                                                MEMORANDUM DECISION AND
 v.                                             ORDER

 MARK A. ELLISON,

                      Defendant.




                                   INTRODUCTION

       Before the Court is a claim from Cathy Monteiro for Lorena Channave’s

remaining restitution from USA v. Ellison, et. al. For the reasons that follow, the Court

will deny Cathy Monteiro’s request.

                                    BACKGROUND

       On April 14, 2014, the Jury returned a guilty verdict against Defendant Mark A.

Ellison on 44 counts of securities fraud. (Dkt. 502, 816.) A judgment of conviction was

entered on August 25, 2014, finding Ellison guilty on counts 4 – 13, 36- 45, 49-52, 56,

62, 67, 72 – 80, and 82 – 89 of the Superseding Indictment. (Dkt. 21, 724.) In addition to

a term of imprisonment and supervised release, the Court ordered Ellison to pay

$32,158,501.00 in restitution. Nov. 17, 2024, Restitution Order. (Dkt. 816.) As of

February 15, 2024, Ellison still owed $28,197,133.65 in restitution. (Dkt. 1054.)

MEMORANDUM DECISION AND ORDER - 1
        Case 1:13-cr-00091-BLW Document 1067 Filed 06/25/24 Page 2 of 4




       The Court is tasked with distributing restitution payments deposited with the Court

to the victims. Unfortunately, since the 2014 judgment, many of the victims entitled to

restitution passed away and left unclaimed funds in possession of the Court.

As a result, the Clerk of the Court sent notice to individuals with a potential interest in the

unclaimed funds. In response, claimant Cathy Monteiro submitted a request to have the

unclaimed restitution payments related to Lorena Channave released to her. In support of

her request, Cathy Conteiro submitted the following documents: (1) a victim affidavit;

and, (2) a copy of a durable power of attorney.

                                   LEGAL STANDARD

       Although money paid to federal courts generally must be deposited with the

Treasury, courts are also allowed to deliver funds to their rightful owners. See 28

U.S.C. § 2041. Indeed, “[a]ny claimant entitled to any such money may, on petition to the

court and upon notice to the United States attorney and full proof of the right thereto,

obtain an order directing payment to him.” 28 U.S.C. § 2042. However, this means the

claimant “bears the burden of affirmatively establishing his entitlement to the funds[.]” In

re Pena, 974 F.3d 934, 940 (9th Cir. 2020); see also Hansen v. United States, 340 F.2d

142, 144 (8th Cir. 1965) (“the burden is upon the claimant to show his right to the

fund.”).




MEMORANDUM DECISION AND ORDER - 2
       Case 1:13-cr-00091-BLW Document 1067 Filed 06/25/24 Page 3 of 4




                                      ANALYSIS

      Cathy Monteiro has not provided sufficient evidence to show she is entitled to

receive Lorena Channave’s remaining restitution. The durable power of attorney clearly

indicates that Lorena Channave, resident of New Hampshire, appointed Cathy Monteiro

to serve as her agent and attorney-in-fact, and that Cathy Monteiro was given a general

grant of power to collect and receive money due and payable to Lorena Channave. But,

the document provided is incomplete. The Court has only page one of the document.

Under New Hampshire law, a general power of attorney must be signed by the principal

in the presence of a notary public, must include a disclosure statement, and must include

an acknowledgement signed by the agent. N.H. Rev. Stat. Ann. §§ 564-E:105; 564-

E:113. Absent the complete, notarized document signed by Lorena Channave with the

attendant disclosure statement and acknowledgment, the Court cannot conclude that

Cathy Monteiro has authority to act as agent. N.H. Rev. Stat. Ann. § 564-E:113 (“A

person designated as agent under a general power of attorney shall have no authority to

act as agent unless…the person has signed and affixed to the general power of attorney

an acknowledgement in substantially the following form….”).

      Because factual uncertainties exist concerning Cathy Monteiro’s authority to

receive the remaining restitution for Lorena Channave, the Court is unable to legally

determine whether Cathy Monteiro is entitled to receive the unclaimed restitution. As




MEMORANDUM DECISION AND ORDER - 3
           Case 1:13-cr-00091-BLW Document 1067 Filed 06/25/24 Page 4 of 4




such, the claim of Cathy Monteiro is denied without prejudice, 1 and the unclaimed

restitution of Lorena Channave will be deposited with the Treasury.



                                                  ORDER

          NOW THEREFORE IT IS HEREBY ORDERED:

      1) Cathy Monteiro’s request for Lorena Channave’s unclaimed restitution

          payments from USA v. Ellison, et. al., is DENIED WITHOUT PREJUDICE.

      2) The Clerk of the Court shall deposit the unclaimed funds of Lorena Channave with

          the Treasury.



                                                            DATED: June 25, 2024


                                                            _________________________
                                                            B. Lynn Winmill
                                                            U.S. District Court Judge




1
    Cathy Monteiro is free to reassert her claim provided she produces evidence consistent with this order.
MEMORANDUM DECISION AND ORDER - 4
